Case 1:05-cv-01158-.]DT-STA Document 12 Filed 07/06/05 Page 1 of 2 Page|D 5

 

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IN THE UNITED STATES DISTRICT COURT ’25`_ //,,,., `
FOR THE WESTERN DISTRICT OF TENNESSEE n -O~ *
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d ';`LM:` z:§jj //".'-/'
WARREN OIL COMPANY, lNc. ;_/an!,¢;§:-.;

Plaintiff,
v.

Case No. 1-05-] lSS-T An

NUOIL, INC. and RICKY SOWDER

\_I\_/‘-»/\-/\_/\_/\./\_/‘_¢

Defendants.

 

ORDER GRANTING ADMISSION PRO HAC VICE

 

lt is hereby ORDERED, upon good cause shown, that Anthony J. Biller, Esq. is admitted

pro hci'c vicé fo“f)réc'tiéejin this district

ks_IrisS;>\()RDI.~;R_E;Dthis § lday of ,2005.

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UNI'];YSTATES DISTRICT JUDGE

 

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Honorable J ames Todd
US DISTRICT COURT

